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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                         CR 15-82-GF-BMM

                     Plaintiff,                           ORDER

 vs.

 PAIGE LARANN DEMARCE,

                     Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on February 13, 2017. Defendant admitted that she

had violated the conditions of her supervised release by failing to report for

substance abuse testing, by failing to report for substance abuse treatment, by

submitting a diluted urine sample, and by failing to make payments towards her

court ordered restitution. Judge Johnston found the admissions sufficient to

establish the supervised release violations. Judge Johnston recommended that this

Court revoke Defendant's supervised release and commit her to the custody of the

United States Bureau of Prisons for a term of imprisonment of three months,

followed by 33 months of supervised release.

       No objections were filed by either party. Judge Johnston’s findings
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and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted

that she had violated the conditions of her supervised release. A sentence of

three months in custody, followed by 33 months of supervised release is

appropriate. The sentence is sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 91) are ADOPTED in full and Judgment shall be

entered accordingly.

      DATED this 28th day of February, 2017.




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